UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

PREPARED FOOD PHOTOS, INC.,

Plaintiff,
Case No, 22-CV-642-JPS

SHARIF JABER and NOFAL, LLC
doing business as FOOD TOWN SPECIAL
MART, VERDICT

Defendants.

We, the jury, duly impaneled and sworn, for our special verdict in

the above-entitled action, find as follows:

DIRECT COPYRIGHT INFRINGEMENT
AGAINST NOFAL, LLC DOING BUSINESS AS FOOD TOWN MART

You must answer this question.
Question No. 1: (See Part II, Section 1 of the Jury Instructions)

Did NOFAL, LLC doing business as Food Town Mart infringe upon
the copyrighted material of Prepared Food Photos, Inc.?

Answer: ve >
(Yes or No)

If you answered “Yes” to Question No. 1, then you must answer Question
No. 2. If you answered “No” to Question No. 1, then do not answer any other
questions on this form; instead, proceed to sign and date this form.

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FAIR USE

Question No. 2: (See Part II, Section 2 of the Jury Instructions)

Did NOFAL, LLC doing business as Food Town Mart make fair use
of Prepared Food Photos, Inc.’s work?

Answer: V, O

(Yes or No)

If you answered “No” to Question No. 2, then you must answer Question
No. 3. If you answered “Yes” to Question No. 2, then do not answer any other
questions on this form; instead, proceed to sign and date this form, even if you
answered “Yes” to Question No. 1.

VICARIOUS COPYRIGHT INFRINGEMENT
AGAINST SHARIF JABER

Question No. 3: (See Part II, Section 3 of the Jury Instructions)

Did Sharif Jaber vicariously infringe upon the copyrighted material
of Prepared Food Photos?
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(Yes or No)

Answer:

Ifyou answered “Yes” to Question No. 3, then you must answer Question
No. 4. If you answered “Yes” to Question No. 1 but “No” to Question No. 3, then
you should still proceed to answer Question No. 4.

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DAMAGES
If you answered “Yes” to Question No. 1 or “Yes” to Question Nos. 1 and
3, and you answered “No” to Question No. 2, then and only then answer each of
Questions Nos. 4, 5, and 6.

Question No. 4: (See Part II, Section 4.1 of the Jury Instructions)

What amount of money fairly and reasonably compensates Prepared
Food Photos, Inc. for its actual damages?

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Question No. 5: (See Part II, Section 4.2 of the Jury Instructions)

What amount of money fairly and reasonably compensates Prepared
Food Photos, Inc. for its statutory damages?

g L Hee

Question No. 6: (See Part II, Section 4.2 of the Jury Instructions)

Was NOFAL, LLC doing business as Food Town Mart’s
infringement of Prepared Food Photos, Inc.’s copyrighted material willful?

Answer: VV o

(Yes or No)

Dated at Milwaukee, Wisconsin, this 0 L an day of October, 2024.

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récoperson Signature

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Foreperson Printed Name

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